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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                  v.                            :       Criminal No. 23-37 RDM
                                                :
                                                :
DUSTIN SARGENT                                  :
                                                :
                         Defendant              :

                                     JOINT STATUS REPORT

         The United States of America, by and through Christopher M. Cook, Assistant United

States Attorney, and Allen H. Orenberg, counsel for the Defendant, submit the following Joint

Status Report:

         1.       The Court ordered that a Joint Status Report be filed in this matter, on or before

May 26, 2023, and that the Status Report include any next steps and any tolling of the speedy trial

clock.

         2.       On February 1, 2023, a Grand Jury returned a ten count Indictment, alleging

violations of federal law that arose from the Defendant’s conduct on January 6, 2021.

         3.       Case specific discovery has been provided in this case, but global discovery

productions are ongoing and voluminous.

         4.       The Parties respectfully request the Court to extend the deadline for filing another

Joint Status Report for approximately 60 days, until approximately July 26, 2023.

         5.       The Parties submit that this extra time will allow the parties to review the large

discovery productions, to engage in meaningful negotiations, and to determine whether this case

may be resolved short of trial.


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       6.       The Parties have also agreed, and jointly request the Court to exclude related time

from the Speedy Trial Act for 60 days from the date of this filing.



                                                     Respectfully submitted,



                                                     /s/ Christopher M. Cook
                                                     CHRISTOPHER M. COOK
                                                     Assistant U.S. Attorney
                                                     700 Grant Street, Suite 4000
                                                     Pittsburgh, Pennsylvania 15219
                                                     christopher.cook5@usdoj.gov
                                                     KS ID No. 23860


                                                     /s/ Allen H. Orenberg
                                                     Allen Howard Orenberg
                                                     THE ORENBERG LAW FIRM, P.C.
                                                     12505 Park Potomac Avenue
                                                     6th Floor
                                                     Potomac, MD 20854
                                                     DC Bar No. 395519




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